             Case 5:21-cv-00497-R Document 1 Filed 05/17/21 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

1.       WILLIAM MICHAEL ROWELL                   )
                                                  )
                Plaintiff,                        )
                                                  )
                                                                      CIV-21-497-R
vs.                                               )      Case No. ___________________
                                                  )
1.       UNITED STATES OF AMERICA                 )
                                                  )
                Defendant.                        )

                                       COMPLAINT

         Comes now the Plaintiff, William Michael Rowell, and for his claims against the

United States of America, alleges and states as follows:

                              JURISDICTION AND VENUE

      1. Plaintiff, William Michael Rowell, is a citizen of the State of Oklahoma. The

amount of controversy, exclusive of interest and costs, exceeds $75,000.00. Jurisdiction

is proper in this Court pursuant to 28 U.S.C. § 1346(b)(1). Venue is proper pursuant to

28 U.S.C. §1391(b)(2) because a substantial part of the events which form the basis of

Plaintiff’s claim occurred within the Western District of Oklahoma.

      2. On July 18, 2019, a motor vehicle accident occurred in Comanche County, on U.S.

Highway 62.

      3. Defendant, United States of America, is named as a defendant pursuant to 28

U.S.C. § 2674, for actions attributable to it by its agency, the U.S. Department of

Interior/Bureau of Indian Affairs.




                                              1
           Case 5:21-cv-00497-R Document 1 Filed 05/17/21 Page 2 of 4




   4. Pursuant to the Federal Tort claims Act 28 U.S.C. § 2671, et. seq. and 43 C.F.R. §

22.3(b), notice of claim was provided to the Department of Interior dated July 23, 2020.

   5. More than six (6) months has passed since the provision of the Notice of Claim

without settlement of said claim and therefore said claim is deemed denied by the United

States.

   6. This case is brought pursuant to the Federal Tort claims Act 28 U.S.C. § 2671, et.

seq., and common law of the State of Oklahoma.

   7. At all times pertinent hereto, Kenneth Weldon-Royce Stumblingbear was an

employee of the United States of America/U.S. Department of Interior/Bureau of Indian

Affairs.

   8. On July 18, 2019, Kenneth Weldon-Royce Stumblingbear was driving a Chevrolet

1500 pickup truck owned by the United States of America/U.S. Department of

Interior/Bureau of Indian Affairs, on Highway 62 in rural Comanche County, Oklahoma.

Kenneth Weldon-Royce Stumblingbear was inattentive to his driving and the vehicle

operated by him struck a vehicle driven by Daniel Robbins who then struck Plaintiff’s

vehicle causing injuries to Plaintiff.

   9. As a direct result of the negligence of the Defendant, United States of

America/U.S. Department of Interior/Bureau of Indian Affairs, the Plaintiff William

Michael Rowell sustained personal injuries and damages.

   10. Kenneth Weldon-Royce Stumblingbear was negligent in the operation of the

vehicle he was operating and caused the collision which led to Plaintiff’s injuries.



                                             2
           Case 5:21-cv-00497-R Document 1 Filed 05/17/21 Page 3 of 4




   11. Defendant, United States of America/U.S. Department of Interior/Bureau of Indian

Affairs are liable for the acts of Kenneth Weldon-Royce Stumblingbear, pursuant to the

doctrine of respondeat superior.

   12. As a direct result of the negligence of the Defendant, United States of

America/U.S. Department of Interior/Bureau of Indian Affairs, Plaintiff has suffered

injuries and damages.

                                         DAMAGES

   13. The negligent conduct of the Defendant has caused the Plaintiff’s loss and

damages in an amount in excess of $75,000.00.

       WHEREFORE, Plaintiff, William Michael Rowell requests he recover money

judgment for his damages in an amount to be proven at trial, but in excess of $75,000.00,

as against the United States of America/U.S. Department of Interior/Bureau of Indian

Affairs, together with such interest and cost as my be provided by law, and/or such other

relief as the Court deems appropriate.

                                    TRIAL DEMAND

       Plaintiff demands a trial pursuant to the Seventh Amendment of the Constitution

of the United States, as to all claims for damages.



                                                 /s John P. Zelbst
                                                 JOHN P. ZELBST, OBA # 9991
                                                 DAVID BUTLER, OBA # 16912
                                                 CHANDRA L. HOLMES RAY,
                                                        OBA # 14254
                                                 CLAY ZELBST, OBA # 32152
                                                 Zelbst, Holmes & Butler

                                             3
Case 5:21-cv-00497-R Document 1 Filed 05/17/21 Page 4 of 4




                                P.O. Box 365,
                                Lawton, OK 73502-0365
                                Tel: (580) 248-4844
                                Fax: (580) 248-6916
                                Emails:
                                zelbst@zelbst.com
                                david@zelbst.com
                                chandra@zelbst.com
                                clay@zelbst.com

                                Attorneys for Plaintiff




                            4
